         Case 1:20-cv-01932-TJK Document 126 Filed 12/20/22 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


DISTRICT OF COLUMBIA,

               Plaintiff,

       v.                                              Civil Action No. 20-1932 (TJK)

EXXON MOBIL CORP. et al.,

               Defendants.


                                              ORDER

       The Court recently ordered this case remanded to the Superior Court of the District of

Columbia. ECF No. 117. Defendants then moved to stay that order pending appeal. ECF

Nos. 119 & 122. The Court agreed to stay its Order to permit briefing on Defendants’ Motion.

Minute Order of Nov. 14, 2022. Having reviewed that briefing, the Court now concludes

Defendants’ Motion to Stay Execution of Remand Order Pending Appeal should be denied.

       The “most critical” factors courts must consider when deciding whether to stay an order

pending appeal are (1) the applicant’s likelihood of success on the merits and “(2) whether the

applicant will be irreparably injured absent a stay.” Nken v. Holder, 556 U.S. 418, 434 (2009)

(quotation omitted). The other two relevant factors are “(3) whether issuance of the stay will

substantially injure the other parties interested in the proceeding[] and (4) where the public interest

lies.” Id. (quotation omitted). Regardless of the other factors, the Court cannot grant a stay absent

irreparable harm, Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985), because the Court’s

power to render equitable relief depends on such “irreparable harm,” Sampson v. Murray, 415 U.S.

61, 88 (1974) (quotation omitted).
         Case 1:20-cv-01932-TJK Document 126 Filed 12/20/22 Page 2 of 3




       Defendants advance two theories of irreparable harm, but both are unavailing. First, they

observe that they might have to litigate simultaneously their appeal from this case and the

remanded case in state court. ECF No. 122-1 at 22–23. That situation, they say, would require

them to expend substantial money and effort that a successful appeal would eventually obviate.

Id. (“Defendants are unlikely to recover . . . discovery costs . . . and the burden of having proceeded

unnecessarily is unrecoverable.”). But it is well established that “money, time and energy

necessarily expended in the absence of a stay,” “however substantial,” are not irreparable injuries.

Murray, 415 U.S. at 90 (quotation omitted). So those potential harms cannot satisfy the second

Nken factor.

       Second, Defendants point out that the state court might render a final judgment on the

merits, rendering their “right to appeal hollow.” ECF No. 122-1 at 21. As another district court

that considered this question noted, however, that possibility is “unlikely” here. See Mayor and

City Council v. BP P.L.C., No. 18-cv-2357 (ELH), 2019 WL 3464667, at *5 (D. Md. July 31,

2019). Defendants’ putative harm can materialize only if the entire litigation in the Superior Court

of the District of Columbia outpaces Defendants’ appeal in this matter. Therefore, the Court

cannot conclude that it is “both certain and great, actual and not theoretical, . . . and of such

imminence that there is a clear and present need . . . to prevent irreparable harm.” Mexichem

Specialty Resins, Inc v. EPA, 787 F.3d 544, 555 (D.C. Cir. 2015) (citation and internal quotation

marks omitted). That theory, then, does not satisfy the second Nken factor either.

       Some district courts facing similar motions in similar cases have found irreparable injury,

but this Court disagrees with their reasoning. For example, one court observed that the defendants

had a statutory right to appeal and characterized the duplicative litigation as irreparable injury

because it would “defeat the very purpose of permitting an appeal.” Delaware ex. rel. Jennings v.



                                                  2
           Case 1:20-cv-01932-TJK Document 126 Filed 12/20/22 Page 3 of 3




BP Am. Inc., No. 20-cv-1429 (LPS), 2022 WL 605822, at *3 (D. Del. Feb. 8, 2022) (quotation

omitted). But that view ignores the fact that any harm to defendants from a duplicative appeal will

come in the form of money and time expended. Those harms, as the Court has explained,

categorically cannot support a stay. Another court simply found a higher likelihood that a

“dispositive resolution” in state court would outpace the appeal. Minnesota ex rel. Ellison v. Am.

Petrol. Inst., No. 20-cv-1636 (JRT/HB), 2021 WL 3711072, at *3 (D. Minn. Aug. 20, 2021). But

that mere possibility does not satisfy this Circuit’s certainty and imminence requirements for

irreparable injury.

        Thus, absent a demonstrated irreparable injury, this Court cannot stay its remand order

while Defendants’ appeal proceeds. Defendants, however, have represented that they will “seek a

stay from the D.C. Circuit” in the event this Court denies their Motion to Stay. ECF No. 122 at 2.

To give them the opportunity to do so before the case is remanded to the Superior Court of the

District of Columbia, the Court will continue a brief administrative stay of its remand order, ECF

No. 117.

        Accordingly, it is hereby ORDERED that Defendants’ Motion to Stay Execution of

Remand Order Pending Appeal, ECF No. 122, is DENIED. However, the Court’s remand order

will remain stayed through January 3, 2023, to provide Defendants the opportunity to seek relief

in the Circuit.

        SO ORDERED.

                                                            /s/ Timothy J. Kelly
                                                            TIMOTHY J. KELLY
                                                            United States District Judge

Date: December 20, 2022




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